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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,

                               Plaintiffs,
                                                              Civil Action No. 5:21-cv-844(XR)
       v.                                                     (Consolidated Case)

TEXAS, et al.,

                     Defendants.
OCA-GREATER HOUSTON, LEAGUE
OF WOMEN VOTERS OF TEXAS,
REVUP–TEXAS, and
WORKERS DEFENSE ACTION FUND,                                  1:21-cv-0780-XR

                             Plaintiffs,

       v.

TEXAS SECRETARY OF STATE JOHN
SCOTT, in his official capacity, TEXAS
ATTORNEY GENERAL KEN
PAXTON, in his official capacity,
HARRIS COUNTY ELECTIONS
ADMINISTRATOR ISABEL
LONGORIA, in her official capacity,
TRAVIS COUNTY CLERK REBECCA
GUERRERO, in her official capacity, HARRIS
COUNTY DISTRICT ATTORNEY KIM OGG, in her
official capacity, TRAVIS COUNTY DISTRICT
ATTORNEY JOSÉ GARZA, in his
official capacity,

                             Defendants.

           NOTICE OF MODIFIED PERMANENT INJUNCTION REGARDING
         SECTIONS 61.032, 61.033, AND 64.0321 OF THE TEXAS ELECTION CODE

            Counsel for Plaintiff Organization of Chinese Americans-Greater Houston (“OCA-GH”)

  write to advise the Court that Judge Robert L. Pitman entered an order on June 6, 2022, (attached

  as Exhibit A) granting in part and denying in part OCA-GH’s Motion for Modification of the 2018

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Permanent Injunction (“2018 Injunction”) in the separate matter OCA Greater Houston v. State of

Texas, 1:15-CV-679-RP (W.D. Tex.) (“the OCA case”). As described below, the modified

injunction may impact certain of the United States’ and Private Plaintiffs’ claims in this action.

         The 2018 Injunction enjoined the Texas Secretary of State (“Texas SOS”) from enforcing

Sections 61.032 1, 61.033 2 and 64.0321 3 of the Texas Election Code for violating Section 208 of

the Voting Rights Act (“Section 208”). The Texas Election Code was recently modified by the

newly passed S.B.1, which “contain[s] provisions modifying many sections of the Election Code.”

Ex. A at 2. Amongst these newly amended Sections are problematic sections 64.031, 64.034 and

64.0322. Shortly after the passage of S.B.1, OCA-GH moved for a modification of the 2018

Injunction to cover amended problematic sections 64.031, 64.034 and 64.0322.

         In determining whether to modify its 2018 Injunction, the court considered only whether

the challenged amended sections of S.B.1 directly conflicted with the text of the 2018 Injunction.

The court opined on Texas SOS’ defenses on “enforcement power, other pending litigation, and

the timing of challenges to election laws.” Ex. A at 4. The court agreed with OCA-GH that the

Texas SOS’s enforcement power derives from Texas Election Code sections 31.001(a)-(b) and

31.003, and concluded that the “secretary of state is the chief election officer of the state whose

enforcement responsibilities oblige the Secretary to prescribe the design and content…of the forms

necessary for the administration of this code.” Id. at n.10 (internal quotations omitted). The First

Filed rule also does not apply because this 2015 case was filed before the 2021 challenges to S.B.1.



1
  “To be eligible to serve as an interpreter, a person must be a registered voter of the county in which the voter needing
the interpreter resides.” Tex. Elec. Code§ 61.032.
2
  “To be eligible to serve as an interpreter, a person must be a registered voter of the county in which the voter needing
the interpreter resides.” Tex. Elec. Code (2015) § 61.033
3
  “For purposes of this subchapter and Sections 85.035 and 86.010, assisting a voter includes the following conduct
by a person other than the voter that occurs while the person is in the presence of the voter's ballot or carrier envelope:
(1) reading the ballot to the voter; (2) directing the voter to read the ballot; (3) marking the voter's ballot; or (4)
directing the voter to mark the ballot.” Tex. Elec. Code§ 64.0321.

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Id. at n.9. The court additionally noted that OCA-GH’s injunction modification motion was timely

because both the motion, filed eight months prior to the November 2022 election, and the court’s

instant ruling, are far from the “eve of an election.” Id. at n.8. Nonetheless, in the injunction

modification inquiry, the court found that none of Texas SOS’ defenses are relevant.

         The court enjoined, in whole, enforcement of Section 64.031, which restricts assistance

rendered to only “marking or reading the ballot.” Tex. Elec. Code§ 64.031. This runs afoul of the

court’s 2018 Injunction and the definition of “voting” as referenced in Section 208. “Voting” was

defined as “not only the mechanical reading and marking of a ballot, but all other activities required

of voters at a polling place to meaningfully and effectively exercise their right to vote.” Id. at 5

(citing Summ. J. Order, Dkt. 60, at 19, OCA-Greater Houston v. Texas, 867 F.3d 604, 615 (5th

Cir. 2017)). Limiting the activities eligible for assistance “creates impermissible restrictions on

assistance inconsistent with the court’s prior injunction and orders, the Fifth Circuit’s opinion, and

Section 208.” Id. at 5-6.

         The court enjoined in part and declined to enjoin in part enforcement of Section 64.034,

which imposes on assistors a requirement to take an oath as part of their assistance. The court

enjoined enforcement of the oath language that is identical to the language in the already enjoined

Section 64.0321. Both enjoined Section 64.0321 and the oath confined an assistor to limit their

assistance to (1) reading the ballot to the voter; (2) directing the voter to read the ballot (3) marking

the voter’s ballot or (4) directing the voter to mark the ballot. See Tex. Elec. Code§ 64.0321, §

64.034. Id. The court noted that “[a]lthough a Court may rightly find that [the remaining portion

of Section 64.034 4] too run afoul of Section 208 . . . [the 2021 S.B.1 litigation] is the proper vehicle


4
  The underlined language reflects the remaining portions of Section 64.034 that the Court declined to rule on.
“I swear (or affirm) under penalty of perjury that the voter I am assisting represented to me they are eligible to receive
assistance; I will not suggest, by word, sign, or gesture, how the voter should vote; I will confine my assistance to
reading the ballot to the voter, directing the voter to read the ballot, marking the voter's ballot, or directing the voter

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by which to test the constitutionality of Election Code requirements not previously before this

Court.” Ex. A at 7 (emphasis added).

          The court also declined to enjoin enforcement of Section 64.0322 5, which institutes a new

required form for assistors to fill out and file. Since the 2018 Injunction did not implicate an

assistor form, the court was “without power to entertain” arguments on whether the form also

violates Section 208. Id.

          The court amended its 2018 Injunction and the accompanying remedial plan to include

originally enjoined Sections 64.0321 6 and newly enjoined Sections 64.031 and 64.034. See Ex. A

at 8-9.

          Notably, the court enjoined the Texas SOS to “explicitly explain that an eligible voter is

entitled to receive assistance from a person of their choosing so long as that person is eligible to

provide assistance under Section 208, and that assistance is not limited to marking or reading the

ballot or otherwise limited to conduct that occurs in the voting booth.” Ex. A at 8-9.




to mark the ballot; I will prepare the voter's ballot as the voter directs; I did not pressure or coerce the voter into
choosing me to provide assistance; I am not the voter's employer, an agent of the voter's employer, or an officer or
agent of a labor union to which the voter belongs; I will not communicate information about how the voter has voted
to another person; and I understand that if assistance is provided to a voter who is not eligible for assistance, the voter's
ballot may not be counted.” Tex. Elec. Code§ 64.034.
5
  The form reads “(a) A person, other than an election officer, who assists a voter in accordance with this chapter is
required to complete a form stating: (1) the name and address of the person assisting the voter; (2) the relationship to
the voter of the person assisting the voter; and (3) whether the person assisting the voter received or accepted any form
of compensation or other benefit from a candidate, campaign, or political committee. (b) The secretary of state shall
prescribe the form required by this section. The form must be incorporated into the official carrier envelope if the
voter is voting an early voting ballot by mail and receives assistance under
Section 86.010, or must be submitted to an election officer at the time the voter casts a ballot if the voter is voting at
a polling place or under Section 64.009.” Tex. Elec. Code§ 64.0322.
6
  The language in the old Sections 61.032 and 61.033 at issue in the 2018 Injunction was related to the residential
qualifications of an interpreter. Order at n.2-3. That language was struck per the 2018 Injunction. While Section
numbers 61.032 and 61.033 still remain in the Texas Election Code, the substance of those sections has completely
changed. New section 61.032 now concerns the voter’s right to select an interpreter, and new section 61.033 gives
the voter the choice to select an interpreter from the “county in which the voter…resides or…an adjacent
county.” Tex. Elec. Code§§ 61.032, 61.033. As a result, the recently modified injunction no longer includes these
section numbers.

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        Lastly, because the modified injunction prohibits Secretary of State John Scott from

enforcing portions of Section 64.034, the United States and Private Plaintiffs’ challenges to the

same portions in this case may ultimately be rendered moot. However, the United States and

Private Plaintiffs’ challenges will not become moot until the time for appeals has passed and the

State has not appealed the order, or until any such appeal is resolved. See Env’t Conservation Org.

v. City of Dallas, 529 F.3d 519, 527 (5th Cir. 2008) (“A case should not be declared moot as long

as the parties maintain a concrete interest in the outcome and effective relief is available to remedy

the effect of the violation.”) (cleaned up). At the earliest, and barring any extension of time, the

deadline to appeal will run until at least July 6, 2022. See Fed. R. App. P. 4(a)(1)(A). In the event

of an appeal, the United States’ and Private Plaintiffs’ challenges to Section 64.034 will remain

viable at least until the resolution of that appeal.

        Counsel for OCA-GH will continue to apprise this Court of any relevant developments in

the OCA case going forward.

        Dated: June 14, 2022.                              Respectfully submitted,

                                                           /s/ Zachary Dolling

                                                           Mimi M.D. Marziani
                                                           Texas Bar No. 24091906
                                                           Hani Mirza
                                                           Texas Bar No. 24083512
                                                           Zachary Dolling
                                                           Texas Bar No. 24105809
                                                           Sarah Chen*
                                                           TEXAS CIVIL RIGHTS PROJECT
                                                           1405 Montopolis Drive
                                                           Austin, TX 78741
                                                           512-474-5073 (Telephone)
                                                           512-474-0726 (Facsimile)
                                                           mimi@texascivilrightsproject.org
                                                           hani@texascivilrightsproject.org
                                                           zachary@texascivilrightsproject.org
                                                           schen@texascivilrightsproject.org

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                                  Thomas Buser-Clancy
                                  Texas Bar No. 24078344
                                  Savannah Kumar
                                  Texas Bar No. 24120098
                                  Ashley Harris
                                  Texas Bar No. 24123238
                                  Andre Segura
                                  Texas Bar No. 24107112
                                  ACLU FOUNDATION OF TEXAS, INC.
                                  5225 Katy Freeway, Suite 350
                                  Houston, TX 77007
                                  Telephone: (713) 942-8146
                                  Fax: (915) 642-6752
                                  tbuser-clancy@aclutx.org
                                  skumar@aclutx.org
                                  aharris@aclutx.org
                                  asegura@aclutx.org

                                  Adriel I. Cepeda Derieux*
                                  Ari Savitzky*
                                  Sophia Lin Lakin*
                                  Samantha Osaki*
                                  Susan Mizner*
                                  AMERICAN CIVIL LIBERTIES UNION
                                  FOUNDATION
                                  125 Broad St., 18th Floor
                                  New York, NY 10004
                                  (212) 284-7334
                                  acepedaderieux@aclu.org
                                  asavizky@aclu.org
                                  slakin@aclu.org
                                  sosaki@aclu.org
                                  smizner@aclu.org
                                  AMERICAN CIVIL LIBERTIES UNION
                                  FOUNDATION
                                  39 Drumm St.
                                  San Francisco, CA 94111
                                  (415) 343-0781 (phone)

                                  LIA SIFUENTES DAVIS
                                  Texas State Bar No. 24071411
                                  LUCIA ROMANO
                                  Texas State Bar No. 24033013
                                  DISABILITY RIGHTS TEXAS
                                  2222 West Braker Lane

                              6
         Case 5:21-cv-00844-XR Document 438 Filed 06/14/22 Page 7 of 7




                                                   Austin, Texas 78758-1024
                                                   (512) 454-4816 (phone)
                                                   (512) 454-3999 (fax)
                                                   ldavis@drtx.org
                                                   lromano@drtx.org

                                                   Jerry Vattamala*
                                                   Susana Lorenzo-Giguere*
                                                   Patrick Stegemoeller*
                                                   ASIAN AMERICAN LEGAL DEFENSE
                                                   AND EDUCATION FUND
                                                   99 Hudson Street, 12th Floor
                                                   New York, NY 10013
                                                   (212) 966-5932 (phone)
                                                   (212) 966 4303 (fax)
                                                   jvattamala@aaldef.org
                                                   slorenzo-giguere@aaldef.org
                                                   pstegemoeller@aaldef.org

                                                   Jessica Ring Amunson*
                                                   Urja Mittal*
                                                   JENNER & BLOCK LLP
                                                   1099 New York Ave. NW, Suite 900
                                                   Washington, DC 20001
                                                   (202) 639-6000
                                                   jamunson@jenner.com
                                                   umittal@jenner.com

                                                   Sophia Cai*
                                                   JENNER & BLOCK LLP
                                                   455 Market St. Suite 2100
                                                   San Francisco, CA 94105
                                                   scai@jenner.com

                                                   COUNSEL FOR PLAINTIFFS OCA-
                                                   GREATER HOUSTON, ET AL.

                                                   *Admitted pro hac vice

                               CERTIFICATE OF SERVICE

       By my signature below, I certify that a true and correct copy of the foregoing has been
served on all counsel of record on June 14, 2022, through the Electronic Case File System of the
Western District of Texas.

                                                           /s/ Zachary Dolling

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